Case 19-14866-mdc   Doc 54   Filed 10/29/19 Entered 10/29/19 17:28:25   Desc Main
                             Document     Page 1 of 5
Case 19-14866-mdc   Doc 54   Filed 10/29/19 Entered 10/29/19 17:28:25   Desc Main
                             Document     Page 2 of 5
Case 19-14866-mdc   Doc 54   Filed 10/29/19 Entered 10/29/19 17:28:25   Desc Main
                             Document     Page 3 of 5
Case 19-14866-mdc   Doc 54   Filed 10/29/19 Entered 10/29/19 17:28:25   Desc Main
                             Document     Page 4 of 5
Case 19-14866-mdc   Doc 54   Filed 10/29/19 Entered 10/29/19 17:28:25   Desc Main
                             Document     Page 5 of 5
